                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                SOUTHERN DIVISION

                                       NO. 7:05-CR-97-FL-19
                                          7:08-CV-I3-FL



 DEMETRIO QUINTANA,                           )
                                              )
                 Petitioner,                  )
                                              )
       v.                                     )                        ORDER
                                              )
 UNITED STATES OF AMERICA                     )
                                              )
                 Respondent.                  )



       This matter is before the court on the motion to vacate, set aside, or correct sentence pursuant

to 28 U.S.c. § 2255 (DE # 673) ofpetitioner Demetrio Quintana (hereinafter "petitioner"). Pursuant

to 28 U.S.c. § 636(b)(1), United States Magistrate Judge William A. Webb entered a memorandum

recommending that the court deny and dismiss petitioner's § 2255 petition. Petitioner timely filed

an objection to the memorandum and recommendation (hereinafter "M&R"), and respondent the

United States of America (hereinafter "respondent") filed a response. In this posture, the matter is

ripe for ruling. For the reasons that follow, the court rejects petitioner's objection to the M&R and

denies petitioner's § 2255 petition.

                                  STATEMENT OF THE CASE

       On September 22, 2005, petitioner was indicted for conspiracy to distribute more than five

kilograms of cocaine in violation of 21 U.S.C. § 841(a)( 1). Petitioner entered a plea of guilty on

September 19,2006 to a criminal information. On February 22, 2007, this court sentenced petitioner

to one hundred fifty-one (151) months imprisonment. Petitioner did not tile an appeal.



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        Petitioner filed his § 2255 petition on January 24, 2008. In his petition, petitioner asserts that

his attorney, William T. Peregoy, was ineffective because he failed to file a notice of appeal at

petitioner's request. On April 7, 2008, respondent filed a response to petitioner's § 2255 petition,

and requested that the court hold an evidentiary hearing to determine the issue. Then, on April 16,

2008, the court referred the matter to the magistrate judge for the evidentiary hearing. On April 18,

2008, the court directed the Federal Public Defender to appoint a panel attorney to represent

petitioner in this action.

        The magistrate judge conducted the evidentiary hearing on June 5, 2008. In M&R filed on

July 22, 2008, the magistrate judge found that petitioner did not instruct attorney Peregoy to file an

appeal on his behalf. The magistrate judge also found that attorney Peregoy had a duty to consult

with petitioner about filing an appeal because petitioner expressed an interest in an appeal at the

sentencing hearing. The magistrate judge further found that attorney Peregoy failed to fulfill his

duty, but that petitioner was not prejudiced by his counsel's deficient performance based upon the

facts surrounding the petitioner's guilty plea and the lack of non-frivolous grounds for appeal.

Accordingly, the magistrate judge found that attorney Peregoy's failure to file an appeal was not

constitutionally deficient and recommended that petitioner's § 2255 petition be DISMISSED.

        Petitioner filed an objection to the M&R, arguing that the testimony at the evidentiary hearing

established that petitioner did in fact instruct his attorney to file a notice of appeal. On August 7,

2008, respondent filed a response to petitioner's objection to the M&R.




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                                            DISCUSSION

I.       Standard of Review

         The district court conducts a de novo review of those portions of a magistrate judge's M&R

to which specific objections are filed. See 28 U.S.C. § 636(b). Upon careful review of the record,

the district court may "accept, reject, or modify, in whole or in part, the findings or recommendations

made by the magistrate judge." Id. Because a proceeding to vacate a judgment of conviction is a

civil collateral attack, the burden of proofrests upon petitioner to establish a denial ofconstitutional

rights by a preponderance ofthe evidence. Johnson v. Zerbst, 304 U.S. 458, 468-69 (1938); Vanater

v. Boles, 377 F.2d 898, 900 (4th Cir. 1967); Miller v. United States, 261 F.2d 546, 547 (4th Cir.

1958).

II.      Analysis

         Petitioner objects to the magistrate judge's finding that attorney Peregoy's failure to file an

appeal did not amount to ineffective assistance of counsel pursuant to the Supreme Court's ruling

in United States v. Peak, 992 F.2d 39 (4th Cir. 1993). Specifically, petitioner argues that he did in

fact instruct attorney Peregoy to file an appeal on his behalf.

         Generally, a claim of ineffective assistance ofcounsel is resolved by application ofthe widely

accepted two-part analysis announced in Strickland v. Washington, 466 U.S. 668 (1984). First,

petitioner must demonstrate that his counsel's acts or omissions fell outside the range of reasonably

competent assistance. Id. at 690. If the petitioner establishes that his counsel's performance fell

outside the acceptable range, he must then satisfy Strickland's second prong by showing a

"reasonable probability that, but for counsel's unprofessional errors, the result of the proceeding

would have been different." Id. at 694. However, the Fourth Circuit has held that an attorney's


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failure to file a notice of appeal when expressly instructed to do so by his client constitutes

ineffectiveness notwithstanding the likelihood of success on appeal because failure to file the

requested appeal deprives the petitioner of his Sixth Amendment right to assistance of counsel on

direct appeal altogether. See Peak, 992 F.2d at 42.

       Petitioner claims that his statements at his sentencing hearing support his claim that he

requested that attorney Peregoy file an appeal on his behalf. At the evidentiary hearing before the

magistrate judge, petitioner testified that he spoke with attorney Peregoy about filing an appeal

during his sentencing hearing. (Evid. Hearing Tr. p. 7, Is. 9 - 21.) Petitioner stated that he did not

have any further conversations with his attorney about filing an appeal after the conclusion of his

sentencing hearing. (ld. p. 7, Is. 20-22.) The transcript from petitioner's sentencing hearing reflects

the following exchange:

               THE COURT: You can appeal your conviction if you believe your
               guilty plea was unlawful or involuntary, or if there's something
               fundamentally wrong with this proceeding. You've got a statutory
               right to appeal your sentence, particularly ifyou think it goes against
               law.
                        Now, with very few exceptions, any notice of appeal has to be
               filed within ten days ofjudgment going on the docket. If you cannot
               afford the cost of an appeal, you can apply for permission to appeal
               for free. And, if you request, the clerk will prepare and file a notice
               of appeal for you. Do you have any questions about your appeal
               rights?

               THE DEFENDANT: What does the attorney have to say?

               MR. PEREGOY: I'll be happy to discuss it with him and explain that
               he has ten days to make that decision, your Honor.

               THE COURT: Okay.

               MR. PEREGOY: I would suspect that his primary concern was the
               third point for acceptance. I understand the legal reasoning. For the


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                 record, on behalf ofthe defendant, I renew that the Court find that the
                 three points was acceptable. And I know you don't have the legal
                 support to do it, but-

                 THE COURT: All right. Well, that's on the record.

(Sen. Tr. pp. 33-34.)

        Attorney Peregoy also testified at the evidentiary hearing before the magistrate judge.

Attorney Peregoy testitied that petitioner never instructed him to file a notice of appeal. (Evid.

Hearing Tr. p. 18,1. II.) In particular, attorney Peregoy stated:

                 Q:      Okay, Moving on to the time-well, first off, during the trial,
                         did Mr.Quintana say anything to you about an appeal-I am
                         sorry. During the sentencing, did he-During the time you
                         were in court with Judge Flanagan, did he make any
                         statements or comments to you about an appeal?

                 A.      He did not make any statements to me about an appeal. But
                         when Judge Flanagan went through his appellate rights-and
                         she went through them quite exhaustively-he acknowledged
                         to her, yes, I understand, and then intimated to me that he
                         wanted to speak to me about that, or he wanted to speak to
                         me. I don't know if it was about that issue. Because at that
                         particular time, the majority of the conversations we were
                         having dealt with the fact that he was angry that he had been
                         injured injail and that his shoulder had been seriously injured,
                         and the guards had beaten him, and that I did not present that
                         evidence to the court that he had a civil rights action that he
                         wanted to be filed. That was his primary concern.
(Id. p. 18, Is. 5-24.)

Attorney Peregoy further testified that he spoke with petitioner following the sentencing hearing and

that petitioner did not instruct him to file a notice of appeal at that time. (Id. p. 20, Is. 23-25.)

Attorney Peregoy stated that if petitioner had requested an appeal he would have filed one, or filed

a brief pursuant to Anders v. California, 386 U.S. 738 (1967). (Id. p. 22, Is. 11-17.)




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        As found by the magistrate judge, by a preponderance of the evidence, Johnson, 304 U.S. at

468, petitioner did not direct his attorney to file an appeal on his behalf. By petitioner's own

admission, the only appeal-related exchange between petitioner and his counsel occurred when the

court asked petitioner ifhe had any questions about his appeal rights, to which petitioner responded:

"[w]hat does the attorney have to say?" (Sen. Tr. p. 33, Is. 21-22.) At this time, attorney Peregoy

responded by informing the court that he'd "be happy to discuss it with him and explain that he has

ten days to make that decision...." (Id. p. 33, Is. 23-25.) There was no further discussion about

petitioner's appeal at this time. From attorney Peregoy's statements during petitioner's sentencing

hearing, it is clear that he intended to discuss petitioner's appeal rights with him in the future.

However, based upon a review of the language contained in the evidentiary hearing transcript and

sentencing transcript, there is no evidence that petitioner expressly instructed attorney Peregoy to file

an appeal. Accordingly, petitioner's objection on this issue is without merit.

                                           CONCLUSION

        For the reasons stated, petitioner's objection to the M&R is without merit. Accordingly, the

court hereby ADOPTS the M&R of the magistrate judge as its own, and for the reasons stated

therein, petitioner's § 2255 petition (DE # 673) is DISMISSED. The Clerk of Court is DIRECTED

to close the case file.

        SO ORDERED, this the (j" day of June, 2009.




                                                LOUISE W. FLANAGAN
                                                Chief United States District Judge




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